Case 08-17391 Doci1_ Filed 07/07/08

B 1 (Official Form 1) (1/08) Document

Entered 07/07/08 09:45:21 Desc Main
Page 1 of 3

United States Bankruptcy Court
Northern District of Illinois

Name of Debtor (if individual, enter Last, First, Middle):
Panacea Partners, LLC

Name of Joint Debtor (Spouse) (Lust, First, Middle):

All Other Numes used by the Debtor in the last 8 years
(include married, maiden, and trade names}:

De La Costa

Ail Other Names used by the Joint Debtor in the last 8 years
{include married, maiden, and trade names).

Last four digits of Soc. Sec. or indvidual-Taxpayer €.D. (TIN) Na,/Compiete EIN
(if more than one, state all};
XX-XXXXXXX

Last four digits of Soc, Sec, or Indviduai-Taxpayer [.D. (ITIN) No./Complete EIN
Gif more than one, state all}:

Street Address of Debtor (No. and Street, City, and State);
465 East Illinois Street, Chicago, Illinois

iP CODE 60614 i

Street Address of Joint Debtors (No. and Street, City, and State):

Z IP CODE |

Coun

of Residence or of the Principal Place of Business:
Coc

County of Residence or of the Principal Place of Business:

Mailing Address of Debtor (if different from street address):

fir CODE |

Mailing Address of Foint Debtor (if different from street address):

Zip CODE

Location of Principal Assets of Business Debtor (if different from street address above):

ip CODE ]

Type of Debtor
(Form of Organization)
(Check one box.}

(Check one box.)

Nature of Business

[] = Health Care Business (4 Chapter 7 E] Chapter 15 Petition for
(Individual (includes Joint Debtors) [J] Single Asset Real Estate as defined in | ] Chapter $ Recognition of a Foreign
See Exhibit D an page 2 of this form. 1] U.S.C. § 101(51B) BA = Chapter 11 Main Proceeding
[ff Corporation (ineludes LLC and LLP} {] Railroad EC] Chapter 12 (C1 Chapter 15 Petition for
C) Partnership 1 © Stockbroker (1 Chapter 13 Recognition of a Foreign
C1 Other {If debtor is not one of the above entities, (J Commodity Broker Nonmain Proceeding
check this box and state type of entity below.} C] = Clearing Bank
O Other Nature of Debts
Restaurant (Check one box.)

Chupter of Bankruptcy Code Under Which
the Petition is Filed (Check one box.)

Tax-Exempt Entity
(Check box, if appticable.)

(J ~~ Debtor is a tax-exempt organization
under Title 26 of the United States
Code (the Internal Revenue Code).

If Debts are primarily
business debts.

CJ Debts are primarily consumer
debts, defined in 1] U.S.C.
§ 101(8) as “incurred by an
individual primarily fora
personal, family, or house-
hold purpose.”

Filing Fee (Cheek ane box.)

Rl

. Full Filing Fee attached.

{1 Filing Fee to be paid in installments {applicable to individuals only). Must attach
signed application for the court’s consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

[1 Filing Fee waiver requested (applicuble to chapter 7 individuals only). Must
attach signed application for the court’s cansideration. See Official Form 3B.

Chapter 11 Debtors
Check one box:
(1 _ Debtor is a small business debtor as defined in 11 U.S.C. § 101{51D).

fa = Debtor is not a small business debtor as defined in 1] U.S.C. § 101(51D).

Check if:

CL] Debtor's aggregate noncontingent liquidated debts (excluding debts awed to
insiders or affiliates) are less than $2,196,000.

Check all applicable boxes:

O) A plan is being filed with this petition.

C1 Acceptances of the plan were solicited prepetition from one or more classes
of ereditors, in accordance with 11 U.8.C. § 1126(b).

StatisticalAdministrative Information THIS SPACE IS FOR
COURT USE ONLY
Mw Debtor estimates that funds will be available for distribution to unsecured creditors.
O Debtor estimates that, after any exemp! property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors.
Estimated Number of Creditors
C] it Oi oO oO C] O O 0 0
1-49 50-99 100-199 200-999 1,000. 5,00L- 16,001- 25,001. 50,001- Over
5,000 19,000 25,000 50,000 100,000 100,000

Estimated Assets
Cl] C] QO O EF]
$0 to $50,001 to $100,001 10 $300,001 $1,000,001 $10,000,00! $50,000,001 100,000,001  $500,000,001 More than
$50,000 $106,000 $500,000 to $1 to $10 lo $50 to $100 to $500 to 3) billion $1 billion

million milion million million million
Estimated Liabilities
G Ol oO A Cj 0 O
50 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001  $100,000,001  $560,000,001 More than
$50,000 $100,000 $500,000 to $4 1o $10 to $50 to $100 ta $500 to $1 billion $1 billion

million tnillion million million million

Case 08-17391 Doci1 Filed 07/07/08 Entered 07/07/08 09:45:21 Desc Main
Document Page 2of3

Bf (Official Farm 1) (1/08) Pape 2
Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case) Panacea Partners, LLC
All Prior Bankruptey Cases Filed Within Last 8 Years ([f more than two, attach additional sheet.)

Location Case Number: Date Filed:

Where Filed:

Location Case Number: Date Fited:

Where Filed:

Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: Case Number: Date Filed:
District: Northern District of Illinois Relationship: Judge:
Exhibit A Exhibit B
(To be completed if debtor is an individual

(To be completed if debtor is required ta file periodic reports (e.g., forms 1OK and whose debts are primarily consumer debts.)

10Q) with the Securities and Exchange Commission pursuant to Section 13 or L5(d}

of the Securities Exchange Act of £934 and is requesting telief under chapter 11.) 1, the atlorney for the petitioner named in the foregoing petition, declare that i
have infarmed the petitioner that [he or she] may proceed under chapter 7, 11,
12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter. | further certify that ] have delivered to the
debtor the notice required by $1 U.S.C. § 342(b).

[) — Exhibit A is attached and made a part of this petition. x

Signature of Attorney for Debtor(s} (Date)

Exhibit C
Does the debior own or have possession of any property ihat poses or is alleged io pose a threat of imminent and identifiable harm to public health ar safety?

C] Yes, and Exhibit C is attached and made a part of this petition.

LA ONa.

Exhibit D
(To be completed by every individual debtor. Ifa joint petition is filed, each spouse must complete and attach a separate Exhibit D,)
OO «Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

Information Regarding the Deblor - Venue
(Check any applicable box.)
Wl Bebtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District,

O There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending tn this District.
oO Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, ar

has no principal place of business or assets in the United States but is a defendant in un action or proceeding [in a federal or state court) in
this District, or the interests of the parties will be served in regard to the relief sought in this District.

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

oO Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

(Nume of landlord that obtained judgment}

{Address of landlord}

O Debtor claims that under applicable nonbarkrupicy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, alter the judgment for possession was entered, and

Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period afier the
filing of the petition.

EJ Debtor certifies that he/she has served the Landjord with this certification. (11 U.S.C. § 362(1}).

Case 08-17391 Doci1 Filed 07/07/08 Entered 07/07/08 09:45:21 Desc Main

Document Page 3of3
B | (Official Form) 1 (1/08) Page 3
¥Yoluntary Petition Name of Debtor(s}:
(This page must be completed and filed in every case) Panacea Partners, LLC
Signatures

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is true
and correct.

[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] | am aware that | may proceed under chapter 7, 11, 12
or i3 of title 11, United States Code, understand the relief available under each such
chapter, and choase to proceed under chapter 7.

{Ino attorney represents me and no bankruptcy petition preparer signs the petition) |
have obtained and read the notice required by 11 U.S.C. § 342(b).

1 request relief in accordance with the chapter of tithe 11, United States Code,
specified in this petition.

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true
and correct, that Lam the foreign representative of a debtor in a foreign praceeding,
and that | am authorized to file this petition.

(Check only one bax.}

C] I request relief in accordance with chapter 15 of title 11, United States Code,
Certilied copies af the dacuments required by 11 U.S C. § 1515 are attached.

C1 Pursuant to 14 U.S.C, § 1511, 1 request relief! in aceardance with the
chapter of title 1! specified in this petition, A certified copy of the
order granting recognition of the foreign main proceeding is attached,

Signature of Attorney for Debtor(s}

Printed Name of Attorney for Debtor(s}

Firm Name

Address

Telephone Number

Date

*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney fas no knowledge after an inquiry that the information
in the schedules is incarrect.

Signature of Debtor (Corporation/Partnersbip)

1 declare under penaity of perjury that the information provided in this petition is true

2

Signattire of Authorized individual

Michael Bemniek

Peto th TALL

Prints, Name 0 ‘at Capuhorzed In eka

7 lens Suppoateed Individual

Date

x Xx

Signature of Debtor (Signature af Foreign Representative)
Xx

Signature of Joint Debtor {Printed Name of Foreign Representative)

Telephone Number (if not represented by atiomey)

Date
Date
Signature of Attorney* Signature of Non-Attorney Bankruptcy Petition Preparer

x J declare under penalty of perjury that: (1}1 am a bankruptcy petition preparer as

defined in 11 U.S.C. § 110; (2) 1 prepared this dacument for compensation and have
provided the debtor with a copy of this document and the notices and information
tequired under 11 U.S.C. §§ 110(b), 110(h), and 342(b), and, (3}if rules or
guidelines have been promuigated pursuant to 11 U.S.C. § 110(h) setting a maximum
fee for services chargeable by bankruptcy petition preparers, 1 have given the debtor
notice of the maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section, Official Form 19 is
atiached.

Printed Name and title, if any, of Bankruptcy Petition Preparer

Social-Security number (If the bankruptcy petition preparer is not an individual,
state the Social-Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparer.) (Required by [1 U.S.C. § 110.)

Address

Date

Signature of bankruptcy petition preparer or officer, principal, responsible person, or
partner whose Social-Security number is provided above.

Names and Sogial-Security numbers of ail ather individuals who prepared or assisted
in preparing this document unless the bankrupicy petition preparer is nol an
individual.

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

A bankruptcy petition preparers failure to comply with the provisions of title 1} and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
bath, 1h UEC. § HO: 18 USC. § 156,

